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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 MARIA MOE,
                        Plaintiff,

 v.                                                         Civil Action No. 1:25-cv-10195


 DONALD TRUMP, in his official capacity as                PROPOSED ORDER GRANTING
 President of the United States; JAMES R.                    PLAINTIFF’S MOTION TO
 MCHENRY III, in his official capacity as Acting          PROCEED UNDER PSEUDONYM,
 Attorney General of the United States; WILLIAM           TO FILE UNDER SEAL, AND FOR
 LOTHROP, in his official capacity as Acting                   PROTECTIVE ORDER
 Director of the Federal Bureau of Prisons;
                        Defendants.




       THIS MATTER having been opened to the Court by GLBTQ Legal Advocates &

Defenders, National Center for Lesbian Rights, and Lowenstein Sandler LLP, counsel for Plaintiff

MARIA MOE (“Plaintiff”), by way of motion for an order granting authorization to proceed under

a pseudonym in the above-captioned matter, to partially seal the Complaint and emergency motion

for a TRO and preliminary injunction, as well as the supporting declarations and memorandum of

law filed with that motion, to seal the declaration of Plaintiff’s criminal defense lawyer, and for a

protective order (“Plaintiff’s Motion”), and the Court, having reviewed the submissions of the

parties in support thereof and in opposition thereto, and having considered the arguments of

counsel, if any, in connection with this Motion; and for good cause shown:

       IT IS on this ___ day of ________, 2025, ORDERED that:

       1.      Plaintiff’s Motion is, GRANTED;

       2.      Plaintiff is permitted to proceed under a pseudonym during the duration of the case;
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       3.      Plaintiff may partially seal the Complaint and emergency motion for a TRO and

preliminary injunction, as well as the supporting declarations and memorandum of law filed with

that motion, as effected in the proposed redacted forms submitted by Plaintiff;

       4.      Plaintiff may file the declaration of her criminal defense lawyer under seal;

       5.      Defendants may not disclose Plaintiff’s identity to any third party unless such

disclosure is necessary to defend against this action; and

       6.      Any party, including any third parties, that files a document identifying Plaintiff

must redact all personal identifiers in accordance with Federal Rule of Civil Procedure 5.2 and

must also redact:

            a. Plaintiff’s biographical details, including but not limited to her age, place of

               residence, current and former names, date of birth, school experience, the identity

               of her mother and criminal defense attorney;

            b. Plaintiff’s criminal history, including the crimes she was convicted of, quotes from

               the sentencing judge, the period of her incarceration, her disciplinary record, her

               rehabilitation activities, and her relationship and communications with her lawyer;

            c. All details of Plaintiff’s medical history, records, treatments, and specific physical

               and mental health diagnoses, including those outside of her gender dysphoria; and

            d. Any other information that could identify Plaintiff to the public.




                                                              ________________________


                                                              United States District Judge
